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 4

 5   Attorney for Defendant
               JUAN PEREZ, JR.
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 8
                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,             ) Case No. CR-F-08-00282 LJO
                                           )
12                Plaintiff,               )
                                           ) MOTION TO EXONERATE PROPERTY
13        vs.                              ) BOND AND ORDER
                                           )
14   JUAN PEREZ, JR.,                      )
                                           ) Judge: Honorable LAWRENCE J.
15                Defendant.               )
                                           ) O’NEILL
16

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19   TO: LAWRENCE J. O’NEILL, Federal District Court Judge, Eastern
     District of California.
20
          Defendant JUAN PEREZ, JR., by and through his attorney
21
     Steven L. Crawford does hereby move this honorable Court to
22
     exonerate the property bond in this case.           The property address
23
     is 29181 Happy Valley Road, Desert Hot Springs, California
24
     92241-8156. Deed # 2008-0550659. Original deed of trust from
25   Juan Perez, Sr., Miguel Perez, and Mario Perez. The case is over
26   and the defendant has been sentenced in this matter.
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     DATED:       April 13, 2010          Respectfully submitted,




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           Case 1:08-cr-00282-LJO Document 137 Filed 04/19/10 Page 2 of 2


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 2                                          /s/
                                       STEVEN L. CRAWFORD, Attorney for
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                                       Defendant JUAN PEREZ, JR.
 4   IT IS SO ORDERED:

 5

 6
     /s/ Lawrence J. O’Neill
 7   LAWRENCE J. O’NEILL, DISTRICT
     COURT JUDGE, EASTERN DISTRICT
 8   OF CALIFORNIA
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